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                               EXHIBIT V


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
5/12/2017         Case 3:17-cv-00321-WKW-SMD
                                         Outcomes forDocument
                                                     Last Four Years 6-26         FiledAgency
                                                                     | Pretrial Services 05/18/17                                                 Page 2 of 3


                                     PRETRIAL SERVICES AGENCY
                                     for the DISTRICT of COLUMBIA
                                                                                                                                                                           Search
                                     A Federal agency dedicated to promoting pretrial justice and
                                     enhancing community safety in the District of Columbia




     I AM A         ABOUT              PROGRAMS               OPPORTUNITIES                HIGHLIGHTS AND              RESOURCES              RESEARCH              CONTACT US
                                      AND SERVICES                                        ACCOMPLISHMENTS                                     AND DATA


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            O UTCOMES FOR L AST F OUR Y EARS
            PSA PERFORMANCE OUTCOMES:

            PSA measures achievement of its critical outcomes through four measures:

            1. Concurrence Rate: Rate at which PSA’s release recommendations at initial appearance are consistent with ordered release conditions.
            2. Arrest­Free Rate: Percentage of defendants who remain arrest­free during the pretrial release period.

                Any arrest­includes felony, misdemeanor, and serious D.C. Traffic cases
                Violent crimes­include crimes as defined in D.C. code 23.1331


            3. Appearance Rate: Percentage of defendants who make all scheduled court appearances during the pretrial period.
            4. Continued Pretrial Release: Percentage of defendants who remain on release at the conclusion of their pretrial period without a pending request for
            removal or revocation due to non­ compliance.




            DEFENDANT SUPERVISION:

            Defendants released prior to trial fall into two categories: those supervised by PSA and those released on personal recognizance (PR). This graph displays
            the number of defendants that PSA supervises compared to those who are released on PR (not supervised by PSA).
            As the sole pretrial services agency serving the D.C. Superior Court and U.S. District Court for the District of Columbia, PSA supervises or monitors
            approximately 17,000 defendants each year. At any time, approximately 4,500 defendants are under pretrial supervision.

            CASE DURATION:

            This graph shows the median times (in days) that defendants remain on pretrial supervision in both courts (DC Superior Court and US District Court for DC)
            across two case types (felony and misdemeanor).
            The median time for defendants with cases pending in DC Superior Court to remain on pretrial supervision is 129 days for misdemeanors and 170 days for
            felonies. Defendants with cases pending in U.S. District Court are under pretrial release approximately 367 days. The vast majority of defendants supervised
            by PSA are awaiting trial in D.C. Superior Court, with a much smaller number awaiting trial in U.S. District Court.




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                       official government duties. Access or use by unauthorized persons, or for unauthorized purposes, including UNOFFICIAL PERSONAL ACCESS or
                       USE, is prohibited and may constitute a violation of 18 U.S.C. § 1030 and the other laws listed below.

                       Federal law (42 C.F.R. § 2.4) provides a criminal penalty ($500 for a first offense and up to $5,000 for each subsequent offense) for unlawful
                       disclosure.




https://www.psa.gov/?q=node/558                                                                                                                                                     1/2
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